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 1   BLEICHMAR FONTI & AULD LLP                        DICELLO LEVITT GUTZLER LLC
     Lesley Weaver (Cal. Bar No. 191305)               David A. Straite (admitted pro hac vice)
 2   Angelica M. Ornelas (Cal. Bar No. 285929)         One Grand Central Place
     Joshua D. Samra (Cal. Bar No. 313050)             60 East 42nd Street, Suite 2400
 3   555 12th Street, Suite 1600                       New York, NY 10165
     Oakland, CA 94607                                 Tel.: (646) 933-1000
 4   Tel.: (415) 445-4003                              dstraite@dicellolevitt.com
     Fax: (415) 445-4020
 5   lweaver@bfalaw.com                                Amy Keller (admitted pro hac vice)
     aornelas@bfalaw.com                               Adam Prom (admitted pro hac vice)
 6   jsamra@bfalaw.com                                 Sharon Cruz (admitted pro hac vice)
                                                       Ten North Dearborn St., Sixth Floor
 7                                                     Chicago, IL 60602
     SIMMONS HANLY CONROY LLC                          Tel.: (31) 214-7900
 8   Jason ‘Jay’ Barnes (admitted pro hac vice)        akeller@dicellolevitt.com
     An Truong (admitted pro hac vice)                 aprom@dicellolevitt.com
 9   Eric Johnson (admitted pro hac vice)              scruz@dicellolevitt.com
     112 Madison Avenue, 7th Floor
10   New York, NY 10016
     Tel.: (212) 784-6400
11   Fax: (212) 213-5949
     jaybarnes@simmonsfirm.com
12   atruong@simmonsfirm.com
     ejohnson@simmonsfirm.com
13
     Counsel for Plaintiffs
14
                            IN THE UNITED STATES DISTRICT COURT
15                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
16

17   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
18                                                   PLAINTIFFS’ ADMINISTRATIVE
            Plaintiffs,                              MOTION TO CONSIDER WHETHER
19                                                   ANOTHER PARTY’S MATERIAL SHOULD
            v.                                       BE SEALED
20
     GOOGLE LLC,                                     CIVIL L.R. 7-11 and 79-5(f)
21
            Defendant.                               Referral: Hon. Susan van Keulen, USMJ
22
                                                     No Hearing Date Set Pursuant to L.R. 7-11(c)
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(f) and the Stipulated Protective Order entered
 2   in this matter, Dkt. No. 61, Plaintiffs respectfully submit this Administrative Motion to Consider
 3   Whether Another Party’s Material Should be Sealed, to the extent such material is quoted,
 4   summarized, or otherwise reflected in the documents (or portions thereof) indicated below:
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     PLS. ADMIN. MOT. TO CONSIDER                    1           CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR         Document 669         Filed 05/24/22    Page 3 of 6


               Document              Portions Sought to be Sealed          Evidence Offered in
 1
                                                                           Support of Sealing
 2                                 Page i, Lines 15, 17-18, 22-24;
                                   Page ii, Lines 1, 19-22, 24-25; Page
 3                                 iii, Lines 3-5, 25-26; Page v, Lines
                                   6-7, 13, 18, 23; Page 1, Lines 9-11,
 4                                 14-16, 18-20, 27-28; Page 2, Lines
 5                                 2, 4-6, 8-9, 11, 13, 15-17; Page 3,
                                   Lines 11-12, 17-27; Page 4, Line 5;
 6                                 Page 6, Lines 2, 9-12, 25; Page 7,
                                   Lines 5-11, 13-20, 22-28; Page 8,
 7                                 Lines 1-4, 7-15, 22-23, 28; Page 9,
                                   Lines 1-2, 4-7, 11, 14-16, 18, 20,
 8        Plaintiffs’ Motion for   22-23, 25-26, 28; Page 10, Lines 1,
                                                                        Defendant to provide
 9        an Order of Sanctions    4-13, 19; Page 11, Lines 11-13, 17-
      1                                                                 evidence, per
          for Google’s             18, 21-24; Page 12, Lines 2, 8-15,
                                                                        Local Rule 79-5(f)
10        Discovery Misconduct     17, 21-23, 26-28; Page 13, Lines 1-
                                   6, 8, 12-13, 15, 21-22, 26-28; Page
11                                 14, Lines 1, 3-6, 11-16, 20, 22-23,
                                   25, 27-28; Page 15, Lines 1-2, 4-5,
12                                 18-21, 24-25; Page 16, Lines 1-14;
13                                 Page 17, Lines 4-5, 7-12, 14-16,
                                   18-21, 25-28; Page 18, Lines 1, 12,
14                                 16-17, 19, 22-25; Page 19, Lines
                                   10-11, 14, 16, 19, 24-26; Page 20,
15                                 Lines 4-6, 11; Page 21, Lines 3-4,
                                   6-11, 13-14, 17, 20, 26-28; Page 22,
16                                 Lines 1-4; Page 23, Line 10
17        Joint Declaration of
          Jay Barnes, Lesley
18        Weaver, and David
                                                                          Defendant to provide
          Straite in Support of
19    2                            Entire Document                        evidence, per
          Plaintiffs’ Motion for
                                                                          Local Rule 79-5(f)
          an Order of Sanctions
20
          for Google’s
21        Discovery Misconduct
          Proposed Order to
22        Plaintiffs’ Motion for                                          Defendant to provide
      3   an Order of Sanctions    Entire Document                        evidence, per
23        for Google’s                                                    Local Rule 79-5(f)
24        Discovery Misconduct
          Exhibits 1-12 in
25        Support of Plaintiffs’
                                                                          Defendant to provide
          Motion for an Order
26    4                            Entire Documents                       evidence, per
          of Sanctions for
                                                                          Local Rule 79-5(f)
          Google’s Discovery
27        Misconduct
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     PLS. ADMIN. MOT. TO CONSIDER                    2          CASE NO. 4:20-CV-05146-YGR-SVK
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 2          Paragraph 12.4 of the Stipulated Protective Order prohibits a party from filing materials
 3   designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in the public record.
 4   Portions of the documents listed above quote, summarize, or otherwise reflect information that
 5   Defendant Google LLC has designated “Confidential” or “Highly Confidential – Attorneys’ Eyes
 6   Only.” Pursuant to Civil Local Rules 79-5(c)(1) and (f)(3), Defendant, as the Designating Party,
 7   bears the responsibility to establish that all of the designated material is sealable.
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      Dated: May 24, 2022                                   Respectfully submitted,
10
      BLEICHMAR FONTI & AULD LLP                            DICELLO LEVITT GUTZLER LLC
11
      By: /s/ Lesley E. Weaver                              By:     /s/ David Straite
12    Lesley Weaver (Cal. Bar No. 191305)                   David A. Straite (admitted pro hac vice)
      Angelica M. Ornelas (Cal. Bar No. 285929)             One Grand Central Place
13    Joshua D. Samra (Cal. Bar No. 313050)
      555 12th Street, Suite 1600                           60 East 42nd Street, Suite 2400
14    Oakland, CA 94607                                     New York, NY 10165
      Tel.: (415) 445-4003                                  Tel.: (646) 933-1000
15    Fax: (415) 445-4020                                   dstraite@dicellolevitt.com
      lweaver@bfalaw.com
16    aornelas@bfalaw.com
      jsamra@bfalaw.com
17
      SIMMONS HANLY CONROY LLC
18
      By:     /s/ Jay Barnes
19    Jason ‘Jay’ Barnes (admitted pro hac vice)
      An Truong (admitted pro hac vice)
20    Eric Johnson (admitted pro hac vice)
      112 Madison Avenue, 7th Floor
21    New York, NY 10016
      Tel.: (212) 784-6400
22    Fax: (212) 213-5949
      jaybarnes@simmonsfirm.com
23    atruong@simmonsfirm.com
      ejohnson@simmonsfirm.com
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     PLS. ADMIN. MOT. TO CONSIDER                       3             CASE NO. 4:20-CV-05146-YGR-SVK
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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, David Straite, attest that concurrence in the filing of this document has been obtained
 3   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4
     Dated: May 24, 2022                                   /s/ David Straite
 5
                                                           David A. Straite
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     ATTESTATION                                                    CASE NO. 4:20-CV-05146-YGR-SVK
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 1                                   CERTIFICATE OF SERVICE
 2          I, David A. Straite, hereby certify that on May 24, 2022, I electronically filed the foregoing
 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record. I also
 5   caused a copy of the under seal filings to be delivered to counsel for Defendant Google LLC via
 6   electronic mail.
 7
     Dated: May 24, 2022                                  /s/ David Straite
 8
                                                          David A. Straite
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     CERTIFICATE OF SERVICE                                        CASE NO. 4:20-CV-05146-YGR-SVK
